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 5                                      UNITED STATES DISTRICT COURT

                                             DISTRICT OF ALASKA

 6
      UNITED STATES OF AMERICA,
 7
                       Plaintiff,
 8                                                                Case No. 3:11-CR-00022-RJB
             v.

 9                                                                VERDICT FORM

      FRANCIS SCHAEFFER COX, COLEMAN

10    BARNEY, and LONNIE VERNON,

11
                       Defendants.
12

13

14          1. We, the Jury, find the defendant FRANCIS SCHAEFFER COX
                                      @jJt®orNOTGUILTY (circle one)
15
     of Conspiracy to Possess Unregistered Silencers and/or Destructive Devices, as charged in Count 1 of
16
     the indictment.
17
            2. We, the Jury, find the defi_t COLEMAN L. BARNEY
18
                                        GlJI~_'IX)rNOT GUILTY (circle one)
19   of Conspiracy to Possess Unregistered Silencers and/or Destructive Devices, as charged in Count 1 of
20   the indictment.

21
            3. We, the Jury, find the defendant LONNIE G. VERNON
22                                   ~Y~O)'NOT GUILTY (circle one)
23   of Conspiracy to Possess UnregIstered~trcr;cers and/or Destructive Devices, as charged in Count 1 of
     the indictment.
24
25
            4. We, the Jury, find~:~~RANCIS SCHAEFFER COX
26
                                     ~UILTYor~OTGUILTY (circle one)
27   of Possession of Unregistered Desifiictiv(t~vices, that is, a combination of parts either designed or
28   intended for use in converting any device into a destructive device and from which a destructive device
     may be readily assembled, specifically four hand grenades, as charged in Count 2 of the indictment.

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 1           5. We, the Jury, find the defendant COLEMAN L. BARNEY
 2                                     GUILTY 0€ j J1UiLT9ircle one)

 3    of Possession of Unregistered Destructive Devices, that is, a combination of parts either designed or
      intended for use in converting any device into a destructive device and from which a destructive device
 4
      may be readily assembled, specifically four hand grenades, as charged in Count 2 of the indictment.
 5
 6
             6.	 We, the Jury, find the defendant FRANCIS SCHAEFFER COX

 7
                                  ~;~~1or NOT GUILTY (circle one)

                                   ~/
 8
      of Possession of an Unregistered Silencer, as charged in Count 3 ofthe indictment.
 9

10           7. We, the Jury, find the defendant FRANCIS SCHAEFFER COX
11                                   ~NOTGUlLTY (circle one)
12    of Possession of an Unregistered Machine Gun as charged in Count 4 of the indictment.

13
             8. We, the Jury, find he. ~fendan.

                                   0
14                                          . .... J FRANCIS SCHAEFFER COX
                                               ''\.
                                       GUILT9NOT GUILTY (circle one)
15
      of Illegal Possession of a Machine'TIuil,-as charged in Count 5 of the indictment.
16

17
             9. We, the Jury, find the d~fen<:lant FRANCIS SCHAEFFER COX
18
                                    (:~!!:; 0 0 T GUILTY (circle one)

19    of Making a Silencer, as charged in Count 6 ofthe indictment.

20
21           10. We, the Jury, find the defendant FRA~q~-8GH.A~FFER COX

22                                     GUILTY 0 NOT GUILTY (cf cle one)

23   of Carrying a Firearm, that is, a semi-automatic pistol, During and in Relation to a Crime of Violence,
     that is, the conspiracy charged in Count 1, as charged in Count 7 of the indictment.
24
25
             11.	 We, the Jury, find the defendant COLE~A..N~l,J~,ARNEY

                                                 or~UILT~rcleone)

26
                                      GUlLTY
27                                                    -
     of Carrying a Firearm, that is, one or more semi-automatic pistols, During and in Relation to a Crime of
28 Violence, that is, the conspiracy charged in Count 1, as charged in Count 8 of the indictment.


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 1          12. We, the Jury, find the defendant COLEMAN L. BARNEY
 2                                   ~ NOT GUILTY (circle one)
 3 of Possession of an Unregistered Destructive Device, that is, a 37 mm launcher loaded with a "hornet's
 4 nest" anti-personnel round, as charged in Count 9 of the indictment

 5
            13. We, the Jury, find the defendant FRANCIS SCHAEFFER COX
 6
                                     cQijlL--:;Y)r NOT GUILTY (circle one)
 7
     of Possession of an Unregistered Destructive Device, that is, a "hornet's nest" anti-personnel round and
 8
     associated 37 mm launcher, as charged in Count 10 of the indictment.
 9

10          14. We, the Jury, find the defendant COL~l~Ji_~BARNEY
11                                    GUILTY    O~T GUlLTyCircle one)
12 of Possession of an Unregistered Destructive Device, that is, four "hornet's nest" anti-persOlmel rounds
13 and two associated 37mm launchers, as charged in Count 11 of the indictment.

14
            15. We, the Jury, find the defendant FRANCIS SCHAEFFER COX
15
                                    ~r NOT GUILTY (circle one)
16
     of Conspiracy to Murder Officers and Employees of the United States, as charged in Count 12 of the
17
     indictment.
18

19          16. We, the Jury, find the defendant COLEMAN L. BARJ\JEY
20                                    GUILTY or NOT GUILTY (circle one)
21 of Conspiracy to Murder Officers and Employees of the United States, as charged in Count 12 of the
22 indictment.

23
            17. We, the Jury, find the defendant LONNIE G. VERNON
24
25
                                     ~NOTGUILTY (circle one)
     of Conspiracy to Murder Officers and Employees of the United States, as charged in Count 12 of the
26
     indictment.
27

28


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..
      1          18. We, the Jury, find the defendant COLEMAN L. BARNEY
      2                                    GUILTY    ~ij~~cle one)
      3 of Carrying a Firearm, that is, a semi-automatic assault rifle, During and in Relation to a Crime of

      4 Violence, that is, the conspiracy charged in Count 12, as charged in Count 13 of the indictment.

      5
                 19. We, the Jury, find the defendant LONNIE G. VERNON
      6
                                           GUILTY     o@Z~I~~rcle one)
      7
          of Carrying a Firearm, that is, a semi-automatic assault rifle, During and in Relation to a Crime of
      8
          Violence, that is, the conspiracy charged in Count 12, as charged in Count 14 of the indictment.
      9
     10          20. We, the Jury, find the defendant FRANCIS SCHAEFFER COX
     11                                    GUILTY o@GWLTY}9ircleOne)
     12 of Carrying a Firearm, that is, a handgun, During and in Relation to a Crime of Violence, that is, the

     13 conspiracy charged in Count 12, as charged in Count 15 of the indictment.

     14
                 21. We, the Jury, find the defendant FRANCIS SCHAEFFER COX
     15
                                          ~r NOT GUILTY (circle one)
     16
          of Solicitation of Others, that is, the defendants Bamey and Vemon, and others, to Engage in the Murder
     17
          of an Officer of the United States, as charged in Count 16 of the indictment.
     18

     19          Dated this _ _  1_0        day of   J W\~~                   ,2012.
     20

     21                                                                REDACTED SIGNATURE
     22
                                                               Presiding Juror
     23                                                            v
     24

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